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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

HUAWEI TECHNOLOGIES CO. LTD.,         §
                                      §
                Plaintiff,            §
                                      §
v.                                        CIVIL ACTION NO. 2:20-CV-00030-JRG
                                      §
                                      §
VERIZON COMMUNICATIONS, INC.,         §
VERIZON BUSINESS NETWORK              §
SERVICES, INC., VERIZON ENTERPRISE    §
SOLUTIONS, LLC, CELLCO                §
PARTNERSHIP D/B/A VERIZON             §
WIRELESS, INC., VERIZON DATA          §
SERVICES LLC, VERIZON BUSINESS        §
GLOBAL LLC, VERIZON SERVICES          §
CORP.                                 §
             Defendants.              §
___________________________________   §
                                      §
                                      §
VERIZON BUSINESS NETWORK
                                      §
SERVICES, INC., CELLCO PARTNERSHIP
D/B/A VERIZON WIRELESS, VERIZON
                                      §
DATA SERVICES LLC, VERIZON            §
BUSINESS GLOBAL LLC, VERIZON          §
SERVICES CORP., AND VERIZON           §
PATENT AND LICENSING INC.             §
                                      §
         Counterclaim-Plaintiffs,     §
v.                                    §
                                      §
HUAWEI TECHNOLOGIES CO. LTD.,         §
HUAWEI TECHNOLOGIES USA, INC.,
                                      §
AND FUTUREWEI TECHNOLOGIES INC.
                                      §
                                      §
                    Counterclaim-
                                      §
                    Defendants.
                                      §

                        MINUTES FOR JURY TRIAL DAY NO. 2
                HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                      July 8, 2021


OPEN: 08:32 AM                                          ADJOURN:    05:51 PM
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ATTORNEYS FOR PLAINTIFF:                           See attached
(to include Counterclaim-Plaintiffs)

ATTORNEYS FOR DEFENDANTS:                          See attached
(to include Counterclaim-Defendants)

LAW CLERKS:                                        Thomas Derbish
                                                   Cason Cole
                                                   Will Nilsson

COURT REPORTER:                                    Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                  Andrea Brunson, CP

    TIME                                           MINUTES
 08:32 AM      Court opened.
 08:32 AM      Exhibits used prior day read into the record.
 08:34 AM      The Court set forth in the record the results from the chambers conference held
               yesterday evening following Day 1 of trial.
 08:36 AM      Mr. Cassady, on behalf of Huawei, set forth in the record those objections discussed
               in the chambers conference.
 08:37 AM      Jury entered the courtroom.
 08:38 AM      Cross examination of Mr. Miguel Dajer by Mr. Dacus.
 08:43 AM      Bench conference.
 08:44 AM      Bench conference concluded.
 08:44 AM      Cross examination of Mr. Miguel Dajer by Mr. Dacus, continued.
 09:09 AM      Redirect examination of Mr. Miguel Dajer by Mr. Cassady.
 09:19 AM      Bench conference.
 09:22 AM      Bench conference concluded.
 09:22 AM      Recross examination of Mr. Miguel Dajer by Mr. Dacus.
 09:27 AM      Additional redirect examination of Mr. Miguel Dajer by Mr. Cassady.
 09:30 AM      Additional recross examination of Mr. Miguel Dajer by Mr. Dacus.
 09:32 AM      Witness excused.
 09:32 AM      Ms. Blaies introduced the video deposition Mr. Brian Labelle.
 09:35 AM      Video deposition of Mr. Brian Labelle concluded.
 09:35 AM      Ms. Blaies introduced the video deposition Mr. Victor Moreno.
 09:36 AM      Video deposition of Mr. Victor Moreno concluded.
 09:37 AM      Ms. Blaies introduced the video deposition Mr. Wilbur Russ.
 09:39 AM      Video deposition Mr. Wilbur Russ concluded.
 09:39 AM      Jury excused for recess.
 09:39 AM      Recessed.
 09:54 AM      Court reconvened.
 09:56 AM      Jury entered the courtroom.
 09:56 AM      Witness sworn. Direct examination of Mr. Bruce Schofield by Mr. Curry.
 10:26 AM      Courtroom sealed.
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 10:27 AM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 10:32 AM    Courtroom unsealed.
 10:33 AM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 10:44 AM    Courtroom sealed.
 10:44 AM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 10:47 AM    Courtroom unsealed.
 10:48 AM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 11:20 AM    Courtroom sealed.
 11:20 AM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 11:32 AM    Courtroom unsealed.
 12:00 PM    Jury excused for lunch.
 12:01 PM    Court recessed for lunch.
 01:03 PM    Court reconvened.
 01:04 PM    Jury returned to courtroom.
 01:04 PM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 01:09 PM    Courtroom sealed.
 01:09 PM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 01:26 PM    Courtroom unsealed.
 01:26 PM    Direct examination of Mr. Bruce Schofield by Mr. Curry, continued.
 01:36 PM    Cross examination of Mr. Bruce Schofield by Mr. Verhoeven.
 01:50 PM    Courtroom sealed.
 01:50 PM    Cross examination of Mr. Bruce Schofield by Mr. Verhoeven, continued.
 01:59 PM    Courtroom unsealed.
 01:59 PM    Cross examination of Mr. Bruce Schofield by Mr. Verhoeven, continued.
 02:06 PM    Redirect examination of Mr. Bruce Schofield by Mr. Curry.
 02:10 PM    Recross examination of Mr. Bruce Schofield by Mr. Verhoeven.
 02:15 PM    Additional redirect examination of Mr. Bruce Schofield by Mr. Curry.
 02:16 PM    Witness excused.
 02:16 PM    Witness sworn. Direct examination of Mr. James Malackowski by Mr. Love.
 02:29 PM    Courtroom sealed.
 02:29 PM    Direct examination of Mr. James Malackowski by Mr. Love, continued.
 02:53 PM    Courtroom unsealed.
 02:53 PM    Jury excused for afternoon break.
 02:54 PM    Recess.
 03:14 PM    Court reconvened.
 03:14 PM    Jury returned to courtroom.
 03:15 PM    Direct examination of Mr. James Malackowski by Mr. Love, continued.
 03:29 PM    Cross examination of Mr. James Malackowski by Mr. Dacus.
 03:50 PM    Courtroom sealed.
 03:50 PM    Cross examination of Mr. James Malackowski by Mr. Dacus, continued.
 04:05 PM    Courtroom unsealed.
 04:05 PM    Cross examination of Mr. James Malackowski by Mr. Dacus, continued.
 04:20 PM    Redirect examination of Mr. James Malackowski by Mr. Love.
 04:28 PM    Courtroom unsealed.
 04:28 PM    Redirect examination of Mr. James Malackowski by Mr. Love, continued.
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 04:30 PM    Witness excused.
 04:30 PM    Courtroom unsealed.
 04:30 PM    Witness sworn. Direct examination of Mr. Glenn Wellbrock, Verizon’s corporate
             representative, by Mr. Caldwell.
 05:14 PM    Bench conference.
 05:14 PM    Bench conference concluded.
 05:14 PM    Cross examination of Mr. Glenn Wellbrock, Verizon’s corporate representative, by
             Mr. Dacus.
 05:38 PM    Redirect examination of Mr. Glenn Wellbrock, Verizon’s corporate representative,
             by Mr. Caldwell.
 05:48 PM    Recross examination of Mr. Glenn Wellbrock, Verizon’s corporate representative,
             by Mr. Dacus.
 05:50 PM    Witness excused.
 05:50 PM    Plaintiff rested its case-in-chief.
 05:50 PM    Jury excused until tomorrow morning at 8:30 AM.
 05:51 PM    Court adjourned.
